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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA




                                                 Civil Action No. 1:21-cv-22445-KMM-LFL
    DONALD J. TRUMP, the Forty-Fifth President
    of the United States, KELLY VICTORY,
    AUSTEN FLETCHER, AMERICAN
    CONSERVATIVE UNION, ANDREW
    BAGGIANI, MARYSE VERONICA JEAN-
    LOUIS, NAOMI WOLF AND FRANK
    VALENTINE, INDIVIDUALLY AND ON
    BEHALF OF THOSE SIMILARLY SITUATED,

                   Plaintiffs,

              v.

    YOUTUBE, LLC and SUNDAR PICHAI

                   Defendants.




     MOTION FOR PRELIMINARY INJUNCTION WITH MEMORANDUM OF LAW
            IN SUPPORT OF PLAINTIFF’S MOTION INCORPORATED HEREIN




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                                           INTRODUCTION
          Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiff Donald J. Trump

   respectfully moves for a preliminary injunction directing, inter alia, Defendant YouTube, LLC,

   and all persons acting in privity, in concert, or on YouTube’s behalf, to reinstate Plaintiff’s access

   to Defendant’s social media platform.

          Coerced by members of the United States Congress, operating under an unconstitutional

   immunity granted by a permissive federal statute, and acting directly with federal officials,

   Defendant is censoring Plaintiff, a former President of the United States. On January 12, 2021,

   Defendant indefinitely banned Plaintiff from its platform, a major avenue of public discourse.

   Defendant’s censorship and prior restraint of Plaintiff’s speech violate the First Amendment to the

   United States Constitution and likewise violates Florida’s newly enacted Social Media Platforms

   Act.

          Defendant YouTube is one of many companies exercising a degree of power and control

   over public political discourse in this country that is immeasurable, historically unprecedented,

   and profoundly dangerous to open democratic debate. Defendant not only banned Plaintiff from

   its platform but has extended its prior restraint to innumerable Subscribers who post videos of or

   discuss the views of Plaintiff. Such total censorship continues to cause Plaintiff irreparable harm,

   endangers democracy, stifles public debate, and may well tip the balance of the 2022

   Congressional Elections and the 2024 Presidential Election.

          Defendant’s censorship of Plaintiff becomes state action for First Amendment purposes

   when it is a result of “the State’s exercise of ‘coercive power;’ the State’s ‘significant

   encouragement, either overt or covert,’ in Defendant’s censorship conduct; and when Defendant

   acted as a ‘willful participant in joint activity’” with the government in censoring Plaintiff. United

   Brentwood Acad. v. Tenn. Secondary Sch. Athletic Ass’n. 531 U.S. 288, 296 (2001) (Thomas, J.

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   dissent (citations omitted). All three factors—coercion, significant encouragement, and willful

   participation in a joint activity—are in operation here. Defendant’s censorship of Plaintiff

   evidences a pattern of viewpoint-based prior restraint, carrying the heaviest presumptions against

   constitutional validity, and violates Florida’s newly enacted Stop Social Media Censorship Act.

          Thus, on both constitutional and state law grounds, Plaintiff is entitled to an injunction

   requiring YouTube to reinstate Plaintiff’s access to his channel(s) on YouTube.

                                      FACTUAL STATEMENT
          A.      The Donald J. Trump YouTube Channel

          Plaintiff established the Donald J. Trump YouTube channel in May of 2015 and initially

   used the channel to engage with the general public. (Ibrahim Decl. Exh. A ¶¶ 14, 15, 16).) When

   Defendant indefinitely suspended the Donald J. Trump channel on January 26, 2021, that channel

   had approximately 2.79 million Subscribers. (Ibrahim Decl. Exh. A ¶¶ 6, 17, 24.)

          B.      Defendant’s Censorship And Prior Restraint Of Plaintiff

          During Plaintiff’s presidency, often without any explanation, Defendant targeted Plaintiff’s

   YouTube channel with restrictions, removals, and other forms of censorship. In late 2019,

   Defendant removed over 300 Trump Campaign advertisements from YouTube. (Ibrahim Decl.

   Exh. A ¶¶ 17, 18) An egregious example of censorship occurred on or about July 9, 2021, when

   Defendant removed an episode of the American Conservative Union’s (“ACU”) “America

   UnCanceled” program on the Conservative Political Action Conference (“CPAC”) Now channel.

   (Ibrahim Decl. Exh. A ¶¶ 7, 19, 20.)

          The most severe and fundamental prior restraint imposed by Defendant on Plaintiff was its

   decision on January 26, 2021, to permanently suspend Plaintiff’s YouTube channel. (Ibrahim

   Decl. Exh. A ¶ 22.) Defendant never identified any content uploaded by Plaintiff that putatively

   justified its action. [Id.] Instead, in its public statements, YouTube stated, “In light of concerns

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   about the ongoing potential for violence, the Donald J. Trump channel will remain suspended.”

   (Ibrahim Decl. Exh. A ¶ 23.) This permanent suspension not only prevents Plaintiff from

   uploading new content, it prevented his Subscribers from posting comments. (Ibrahim Decl. Exh.

   A ¶ 24.)   Plaintiff’s remarks on January 6, 2021, in Washington, D.C., are a matter of public

   record, and Defendant’s ban of Plaintiff’s speech is a prior restraint of his First Amendment right

   that persists to this day. (Ibrahim Decl. Exh. A ¶ 25.)

                                             ARGUMENT
                           LEGAL STANDARD APPLICABLE TO
                        MOTIONS FOR A PRELIMINARY INJUNCTION

          To obtain a preliminary injunction, Plaintiff must establish: “(1) a substantial likelihood of

   success on the merits of his claim; (2) an irreparable injury unless the injunction [is] granted; (3)

   that the harm from the threatened injury outweigh[s] the harm the injunction would cause

   [defendants]; and (4) that the injunction would not be adverse to the public interest.” Parsons v.

   Regna, 847 F. App'x 766, 771 (11th Cir. Mar. 17, 2021) (citing Gonzalez v. Governor of Ga., 978

   F.3d 1266, 1270–71 (11th Cir. 2020)). “A substantial likelihood of success on the merits requires

   a showing of only likely or probable, rather than certain, success.” Id. at 1271 n.12 (quoting

   Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1232 (11th Cir. 2005) (emphasis in original)).

                                         POINT I
                         PLAINTIFF IS LIKELY TO SUCCEED ON THE
                           MERITS OF HIS FIRST AMENDMENT CLAIM

          The Internet is “the modern public square.” Packingham v. North Carolina, 137 S. Ct.

   1730, 1732 (2017). For billions of people, it is the most important source and medium for news,

   information, culture, and communication. Id. It is, moreover, “perhaps the most powerful

   mechanism available to a private citizen to make his or her voice heard.” Id. at 1738. (Ibrahim

   Decl. Exh. A ¶¶ 5,26(a).) Defendant’s censorship of Plaintiff’s views violated the First


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   Amendment when Defendant became a state actor because governmental involvement in that

   conduct took one or more impermissible forms, all of which are present here. See Biden v. Knight

   First Amendment Institute, 141 S. Ct. 1220, 1222 (2021) (“Mr. Trump often used the account to

   speak in his official capacity. And, as a governmental official, he chose to make the comment

   threads on his account publicly accessible, allowing any Twitter user—other than those whom he

   blocked—to respond to his posts.”) (Thomas, J. concurrence.) Although discussing Plaintiff’s

   Twitter account, there is a parallel public access to YouTube; see also Amalgamated Food

   Employees Union v. Logan Valley Plaza, 391 U.S. 308, 325 (1968) (“The more an owner, for his

   advantage, opens up his property for use by the public in general, the more do his rights become

   circumscribed by the statutory and constitutional rights of those who use it.”)

          A.      Legal Standards Applicable To A State Action Finding

           The Supreme Court has held that state action exists “when [the private party’s conduct]

   results from the State’s exercise of ‘coercive power,’ when the State provides ‘significant

   encouragement, either overt or covert,’ or when a private actor operates as a ‘willful participant in

   joint activity’” with the government. United Brentwood Acad., 531 U.S. at 296 (citations omitted)

   (emphasis added); see Focus on the Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263,

   1277 (11th Cir. 2003). Private party conduct can also become state action when the government

   has passed a statute or regulation immunizing that conduct from state law liability and has made

   plain its “strong preference” for the immunized conduct to be engaged in. See, e.g., Skinner v.

   Railway Labor Executives’ Ass’n, 489 U.S. 602, 615 (1989).

          Private party conduct is state action when it results from a “symbiotic relationship”

   between the private party and the government. See, e.g., Burton v. Wilmington Parking Auth., 365

   U.S. 715, 725 (1961); Focus on the Family, 344 F.3d at 1278; Pasadena Republican Club v.



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   Western Justice Ctr., 985 F.3d 1161, 1167 (9th Cir. 2021); Perkins v. Londonderry Basketball

   Club, 196 F.3d 13, 18 (1st Cir. 1999); Dobyns v. E-Systems, Inc., 667 F.2d 1219, 1227 (5th Cir.

   1982). Moreover, state action always exists when the government deliberately “induces,

   encourages, or promotes persons to accomplish what it is constitutionally forbidden to

   accomplish.” Norwood v. Harrison, 413 U.S. 455, 465 (1973). When government officials violate

   this principle, state action exists, and the private parties who intentionally assist them may be liable

   for violating constitutional rights. See, e.g., George v. Edholm, 752 F.3d 1206, 1215 (9th Cir.

   2014).

            Satisfaction of any one of the above tests “is sufficient to find state action.” Pasadena

   Republican Club, 985 F.3d at 1167; Barrios-Velazquez v. Associcion De Empleados Del Estado

   Libre Asociado, 84 F.3d 487, 493 (1st Cir. 1999). But courts may also view these indicia of

   governmental involvement in private conduct as cumulative factors, weighing in favor of finding

   state action. See, e.g., Rawson v. Recovery Innovations, Inc., 975 F.3d 742, 754-55 (9th Cir. 2020).

   State action is indisputable when all such factors come together in a single case, as they do here.

            The determination of whether private party conduct constituted governmental action is

   “necessarily a fact-bound inquiry,” United Brentwood Acad., 531 U.S. at 296, requiring a “totality

   of the circumstances” analysis. Evans v. Valero Energy Corp., No. CV F 07-0130, 2007 U.S. Dist.

   Lexis 21402 at * 9 (E.D. Cal. Mar. 6, 2007); Bass v. Parkwood Hosp., 180 F.3d 234, 242 (5th Cir.

   1999).

            Defendant’s censorship of Plaintiff resulted from: (a) coercive pressure imposed on

   Defendant by federal actors, including numerous Democrat members of Congress; (b) significant

   encouragement, both overt and covert, by the federal government, including the enactment of a

   statutory provision, Section 230 of the Communications Decency Act of 1996, 47 U.S.C. §230



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   (“Section 230”) immunizing social media platforms’ suppression of constitutionally protected

   speech; and (c) Defendant’s willful participation in joint activity with federal actors, including a

   federal agency and the White House.

          B.      Federal Actors Repeatedly And Coercively Pressured Defendant
                  To Censor Speech And To De-Platform Plaintiff

          While government officials are permitted to express their, or the government’s, preferences

   about what a private company should or should not do, they cannot exert coercive pressure on

   private parties to censor others’ speech. E.g., Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 66-67

   (1963). Such coercion converts private party conduct into state action. United Brentwood Acad.,

   531 U.S. at 298; Carlin Communications, Inc. v. Mountain States Tel. & Tel. Co., 827 F.2d 1291,

   1295 (9th Cir. 1987) (finding state action in private telephone company’s suspension of account

   due to coercive threats made by state official).

          The test in such cases is whether the “comments of governmental officials can reasonably

   be interpreted as intimating that some form of punishment or adverse regulatory action will follow

   failure to accede to the officials’ request.” E.g., Hammerhead Enters., Inc. v. Brezenoff, 707 F.2d

   33, 39 (2d Cir. 1983). When governmental actors have exerted such coercive pressure, state action

   exists regardless of whether the officials’ threat “was the real motivating force” behind the private

   party’s conduct and even if the private party “would have acted as he did independently.” Carlin

   Communications, 827 F.2d at 1295.

          “[A] public official who tries to shut down an avenue of expression of ideas and opinions

   through ‘actual or threatened imposition of government power or sanction’ is violating the First

   Amendment.” Backpage.com, LLC v. Dart, 807 F.3d 229 (7th Cir. 2015) (citing, American Family

   Association, Inc. v. City & County of San Francisco, 277 F.3d 1114, 1125 (9th Cir. 2002)). Written

   and verbal threats of the kind in Backpage, similar to those in this case, create an irreparable injury

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   because they are designed to coerce, not persuade. Id. at 239. Judge Richard Posner, writing for

   the Court in Backpage, found that the sheriff’s threatening statements constituted prior restraint,

   “‘[t]hreatening penalties for future speech goes by the name of ‘prior restraint,’ and a prior restraint

   is the quintessential first amendment violation.’” Id. at 235 (citing, Fairley v. Andrews, 578 F.3d

   518, 525 (7th Cir. 2009)).

          In Okwedy v. Molinari, 333 F.3d 339, 344 (2d Cir. 2003) (per curiam), the Second Circuit

   made clear that subtle or soft language does not obviate the threat, reasoning, “[w]hat matters is

   the distinction between attempts to convince and attempts to coerce.” Id. at 344. The “intent” of

   the letter [threat] controlled, not its formal language. Id. Further, in Okwedy, the Court reasoned,

   “[b]ased on this letter, [Plaintiff] could reasonably have believed that [the official] intended to use

   his official power to retaliate against it if it did not respond positively to his entreaties. . . .

   [Plaintiff] could reasonably have feared that [the official] would use whatever authority he does

   have, as Borough President, to interfere with the ‘substantial economic benefits’ [Plaintiff] derived

   from its billboards.” Id.

          Courts have long held that threats by government officials violate the First Amendment,

   which “unquestionably constitutes irreparable injury” to the victim or recipient of the threat.

   Backpage.com, LLC, 807 F.3d at 239. The Ninth Circuit described this form of impermissible state

   action as follows: “If the First Amendment means anything, however, the Commission has no right

   to accompany its suggestions with vague or explicit threats of regulatory action should

   broadcasters consider and reject them. The Commission has no right whatsoever to demand or

   secure commitments from broadcasters to accept its suggestions. It has no right to launch

   orchestrated campaigns to pressure broadcasters to do what they do not wish to do.” Writers Guild

   of America, West, Inc. v. FCC, 423 F. Supp. 1064, 1150 (1976) (rev’d on other grounds). Using



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   nearly identical analysis, employer speech cases are treated substantially the same. For example,

   because employers oversee employees, courts “must take into account the economic dependence

   of the employees on their employers, and the necessary tendency of the former, because of that

   relationship, to pick up intended implications of the latter that might be more readily dismissed by

   a more disinterested ear.” NLRB v. Gissel Packing Co., 395 U.S. 575, 617 (1969) (emphasis

   added).

             Since 2019, Democrat members of the United States Congress, as well as now-President

   Joe Biden and Vice President Kamala Harris, have subjected the social media companies and their

   CEOs, including Defendant, to systematic and increasing pressure to censor disfavored online

   speech, and to promote favored speech, or else face catastrophic legislative and/or regulatory

   consequences. (Ibrahim Decl. Exh. A ¶¶ 26(b), 27,28, 29,30, 31, 32, 33, 34.)

             On or about April 10-11, 2019, Speaker of the House Nancy Pelosi warned that a “new

   era” of regulating social media was coming and that Section 230 could be “in jeopardy.” (Ibrahim

   Decl. Exh. A ¶28.)     Speaker Pelosi further commented that “the era of self-regulation” in this

   country for social media companies is “probably” over, and that “[w]hen we come to 230, you

   really get their attention . . . it is not out of the question that that could be removed” because “for

   the privilege of 230, there has to be a bigger sense of responsibility on it.” (Ibrahim Decl. Exh. A

   ¶ 32.) (See examples of coercive statements by Chairman Schiff, President Biden, Speaker Pelosi,

   Congressman Raskin, and Sen. Blumenthal) (Ibrahim Decl. Exh. A ¶¶ 29, 30, 31, 32, 35, 36, 37,

   38, 39, 41, 43.)

             These coercive methods had the desired results. By early January of 2021, the Federal

   Trade Commission and the U.S. Department of Justice were investigating social media companies




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   for antitrust violations and had launched an antitrust action against Facebook, which Facebook

   CEO Mark Zuckerberg described as an “existential threat.” (Ibrahim Decl. Exh. A Decl. ¶ 42.)

          Chairman Frank Pallone, Jr.’s publicly released “memorandum” from a March 25, 2021,

   House Energy and Commerce Committee hearing indicated that a principal topic of the hearing

   was the “role” of “Facebook, Google, and Twitter” in “the dissemination and amplification of

   misinformation and extremist content.” (Ibrahim Decl. Exh. A ¶ 44.) (See additional examples of

   coercive statements at Ibrahim Decl. Exh. A ¶¶ 8, 45.)

          As a result of the coercive pressure created by Congress and the Executive Branch,

   Defendant censor Plaintiff. Such censorship would have been an unconstitutional deprivation of

   Plaintiff’s free speech if federal officials had taken that action directly. (Ibrahim Decl. Exh. A ¶¶

   45, 46.)

          C.      Defendant’s Censorship Of Plaintiff Resulted From
                  Significant Encouragement By The Federal Government

          Private party conduct also becomes governmental action “when the State provides

   ‘significant encouragement, either overt or covert.’” United Brentwood Acad., 531 U.S. at 296

   (citations omitted); see also Focus on the Family 344 F.3d at, 1278. The coercive and threatening

   statements made by congressional and executive branch members described above in Point I B,

   applying pressure on and threatening consequences against YouTube if it failed to censor,

   amounted at a minimum to significant encouragement. Democrat members of Congress, as well

   as President Biden himself, repeatedly encouraged Defendant to censor and restrain Plaintiff’s

   views or face catastrophic legal and regulatory consequences. (Ibrahim Decl. Exh. A ¶ 45.)

          Section 230 (c) itself is a significant encouragement to censor constitutionally protected

   speech. Section 230 (c)(2) immunizes social media companies from liability for any action taken

   in good faith to “restrict” speech they or their Subscribers deem “objectionable,” even if that

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   speech is “constitutionally protected.” 47 U.S.C. § 230 (c)(2)(A). The express “intent of Congress

   in enacting § 230 (c)(2) was to encourage efforts by Internet service providers to eliminate

   [‘objectionable’] material by immunizing them from liability.” Goddard v. Google, Inc., No. C

   08-2738 JF, U.S. Dist. Lexis 101890 at *6 (N.D. Cal. Dec. 17, 2008) (emphasis added); see also,

   e.g., Dawn Nunziato, The Death of the Public Forum in Cyberspace, 20 BERK. TECH. L.J. 1115,

   1129 (2005) (through Section 230 (c)(2), “Congress encouraged private Internet actors to do what

   it could not do itself” (emphasis added)). Every act by YouTube in censoring Plaintiff’s speech

   was significantly encouraged by, and in reliance upon, the immunity granted by Section 230 (c)(2).

           In at least two cases, the Supreme Court has held that federal statutes immunizing private

   conduct from liability turned what would otherwise be private action into state action. See Skinner,

   489 U.S. at 614-15; Railway Employees’ Dep’t v. Hanson, 351 U.S. 225, 232 (1956). In Hanson,

   the Court found state action in private employers’ closed-shop agreements—contracts between the

   employer and a union requiring all employees to be union members—because a federal statute,

   superseding all conflicting state laws, prevented such agreements from being “made illegal . . . by

   any provisions of the laws of a State.” Id. The statute did not require employers to have such

   agreements; it merely permitted them. Id. Similarly, Section 230 permits (but does not require)

   companies like YouTube to censor speech deemed “objectionable” and preempts all conflicting

   state laws, preventing such censorship from being “made illegal . . . by any provisions of the laws

   of a State.” Id.

           In Skinner, the Court found state action in certain employee urine and breath tests to be

   conducted by private railroad companies after the federal government enacted regulations

   immunizing those companies from liability if they performed such tests. Again, the pertinent

   regulations (called Subpart D) were, like Section 230, “permissive”—they did not compel such



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   testing but merely permitted it. Skinner, 489 U.S. at 611. Nevertheless, the Court held that these

   regulations turned the private companies’ conduct into state action, emphasizing that: (1) the

   regulations “removed all legal barriers” to such testing by preempting any conflicting state laws

   (immunizing the railways from liability); and (2) the government had “made plain” a “strong

   preference” for such testing. Id. at 615. Similarly, Section 230 (c)(2) “remove[s] all legal barriers”

   to YouTube’s refusal to carry content it deems to be hate speech, or “misinformation,” or

   dangerous, by preempting conflicting state laws and immunizing social media companies from

   liability for such censorship.

          The federal government has “made plain” a “strong preference” for the censoring of

   COVID-19 “misinformation,” or other content Congressional Democrats deem dangerous, and of

   Plaintiff himself. On July 17, 2021, President Biden excoriated social media companies for

   carrying so-called COVID-19 “misinformation,” stating that they are “killing people” and

   demanded that they block it. (Ibrahim Decl. Exh. A ¶ 46.)

          Thus, under Hanson and Skinner, the delegation of permissive activity and immunity in

   Section 230 weighs heavily in favor of a finding of state action in the regulation of the content of

   speech on the Internet. Indeed, Section 230(c)(2) violates the “axiomatic” constitutional principle

   set forth by the Supreme Court almost 50 years ago: that the government “may not induce,

   encourage or promote private persons to accomplish what it is constitutionally forbidden to

   accomplish.” Norwood, 413 U.S. at 465. When the government violates this “axiomatic” rule, state

   action exists, and private parties who intentionally assist the government may be liable for

   constitutional violations. George, 752 F.3d at 1215.




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          D.      Defendant Has Willfully Participated In Joint Activity With Federal
                  Governmental Actors To Censor Plaintiff’s Constitutionally Protected Speech

          Defendant’s censorship of Plaintiff’s speech, including its censorship of his July 11, 2021

   CPAC speech announcing the instant lawsuit, were based on the putative ground that Plaintiff was

   disseminating COVID-19 related “misinformation.” (Ibrahim Decl. Exh. A ¶ 9, 21.) In censoring

   Plaintiff’s COVID-19 related speech, Defendant was acting as a willful participant in joint activity

   with federal actors, including the Department of Health and Human Services (“HHS”), and the

   White House. White House Press Secretary Jennifer Psaki acknowledged this joint activity, stating

   that White House senior staff were engaging with social media platforms to combat the spread of

   misinformation, specifically on the pandemic, and playing an active role in flagging content

   deemed by the Biden Administration to be problematic. The next day, Psaki stated that the Biden

   Administration’s goal is to ban individuals who spread COVID-19 misinformation from all social

   media platforms. (Ibrahim Decl. Exh. A ¶¶ 9, 50.) The Centers for Disease Control (“CDC”) and

   Defendant have openly admitted this collaboration between social media companies and the CDC.

   The CDC has publicly stated that it acts with “social media” “partners” to “curb the spread of

   vaccine misinformation.” (Ibrahim Decl. Exh. A ¶¶ 9, 47, 48, 49.)

          Not a hair’s breadth separates “direct engagement” between governmental and private

   actors to achieve an objective from “willful participation in joint activity.” By their own

   admissions, the White House and social media companies reached a mutual understanding,

   agreeing to “work together” to “get rid” of disfavored speech. Therefore, state action exists under

   United Brentwood Acad. See also, e.g., Bendiburg v. Dempsey, 909 F.2d 463, 468 (11th Cir. 1990)

   (“[P]rivate defendants can be held liable [as state actors] if they act in concert with [government]

   officials in depriving a plaintiff of constitutional rights.”); cf. Sun v. Girardot, 237 Fed. Appx. 415,

   417 (11th Cir. 2007) (defendants are state actors if they “reached an understanding” with

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   government officials “to violate [plaintiff’s] rights”); Rowe v. City of Ft. Lauderdale, 279 F.3d

   1271, 1283 (11th Cir. 2002) (defendants are state actors if there was an “agreement” with

   government officials). Moreover, the federal government reaps and knowingly accepts substantial

   benefits from this partnership. These benefits include, without limitation: the “effective and

   inexpensive” communication, as the CDC puts it, of government-approved health information to

   large numbers of people; suppression of information suggesting or showing flaws in federal

   government policy and orthodoxy; boosting the CDC’s reputation as reliable and authoritative in

   its factual and policy determinations; creating a false impression of unequivocal support in the

   scientific community for governmental directives; and suppression of opinions and information

   that might lead people to take actions contrary to the government’s preferences. See, e.g., Focus

   on the Family, 344 F.3d at 1278. Where coercive governmental pressure, significant governmental

   encouragement, and joint governmental activity are all present in a single case, state action must

   be found; otherwise, every constitutional right could easily be circumvented.

          E.      Defendant’s Acts Violated The First Amendment

          The First Amendment paradigmatically prohibits prior restraints. Near v. Minnesota, 283

   U.S. 697, 713-14 (1931). “Any system of prior restraints of expression comes to this Court bearing

   a heavy presumption against its constitutional validity.” New York Times Co. v. the United States,

   403 U.S. 713, 714 (1971). Because prior restraints are presumptively unconstitutional, the burden

   to show that Plaintiff’s speech is unprotected by the First Amendment rests heavily on Defendant:

   “the burden . . . of proving that the material is unprotected, must rest on the censor.” Southeastern

   Promotions v. Conrad, 420 U.S. 546, 560 (1975); See Neb. Press Ass’n v. Stuart, 427 U.S. 539

   (1976), citing, Pittsburgh Press Co. v. Human Rel. Comm'n, 413 U.S. 376, 396 (1973) (Courts

   have long “condemn[ed] prior restraint as presumptively unconstitutional”).



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          Further, prior restraint present an injury that occurs repetitively until remedied, New York

   Times Co., 403 U.S. at 715 (prior restraint “amounts to a flagrant, indefensible, and continuing

   violation of the First Amendment”). The existence of other venues for Plaintiff to speak does not

   cure the First Amendment violation. Conrad, 420 U.S., at 560. In addition, the First Amendment

   does not permit governmental actors to discriminate against speech on the basis of the viewpoints,

   ideas, or opinions they express. Iancu v. Brunetti, 139 S. Ct. 2294, 2299 (2019) (identifying as a

   “core postulate of free speech law” that the “government may not discriminate against speech

   based on the ideas or opinions it conveys”). Injunctions cannot facilitate the suppression of speech

   from one side of a political debate, but instead must serve to promote as much speech as possible

   since public debate, rather than partisan government objectives, serves the national interest. in

   Madsen v. Women’s Health Ctr., 512 U.S. 753, 774 (1993) (“As a general matter, we have

   indicated that in public debate our own citizens must tolerate insulting, and even outrageous,

   speech in order to provide adequate breathing space to the freedoms protected by the First

   Amendment.”) (citing Boos v. Barry, 485 U.S. 312, 322 (1988)).

          The First Amendment prohibits establishing a “Ministry of Truth,” blocking speech that

   the government deems false. See United States v. Alvarez, 567 U.S. 709, 723 (2012) (plurality

   opinion) (citing GEORGE ORWELL, NINETEEN EIGHTY-FOUR (1949)). “The mere potential for the

   exercise of that power casts a chill, a chill the First Amendment cannot permit if free speech,

   thought, and discourse are to remain a foundation of our freedom.” Id. Yet, Defendant, working

   jointly with a federal agency and the White House, has converted its platform into a Ministry of

   Truth, particularly with respect to COVID-19.

          As a government actor, Defendant’s prior restraint of Plaintiff is a violation of the First

   Amendment, and Plaintiff is therefore entitled to injunctive relief under the federal courts’



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   longstanding power to “grant equitable relief for constitutional violations.” Mitchum v. Hurt, 73

   F.3d 30, 35 (3rd Cir. 1995) (Alito, J.)

                                          POINT II
                             SECTION 230, AS APPLIED TO THESE
                          FACTS, VIOLATES THE FIRST AMENDMENT

           Section 230 is not a valid defense to this action and is unconstitutional as applied to the

   facts of this case. Section 230 only protects YouTube for (1) causes of action in which third-party

   speech is an element and (2) its content moderation for specific reasons outlined in 47 U.S.C. §

   230 (c)(2). Here, Plaintiff’s constitutional claims against YouTube involve neither third-party

   speech nor the sorts of content specified in Section 230. Further, a binding precedent has

   determined Section 230 offers platforms no protection from suits brought under the Florida

   Deceptive and Unfair Trade Practices Act (“FDUTPA”)

           A.    Neither Section 230(c)(1) Nor Section 230(c)(2) Protects YouTube From Its
                 Discriminatory Treatment Of Plaintiff In Violation Of The First Amendment
           The Supreme Court has confirmed this essential structure: Section 230(c)(1) relieves

   platforms of liability from third-party speech, and Section 230(c)(2) relieves platforms for

   removing or moderating content. This precedent recognizes that if Section 230(c)(1) protects

   removal decisions, it would “swallo[w] the more specific immunity in (c)(2)[.]”. Malwarebytes,

   Inc. v. Enigma Software Grp. USA, LLC, 141 S. Ct. 13, 17 (2020) (referencing and quoting to e-

   ventures Worldwide, LLC v. Google, Inc., No. 2:14–cv–646–FTM–PAM–CM, 2017 WL 2210029,

   *3 (MD Fla., Feb. 8, 2017). “[B]y construing § 230 (c)(1) to protect any decision to edit or remove

   content, courts have curtailed the limits Congress placed on decisions to remove content . . . .”

   Id.(internal citation omitted).

           Allowing Section 230(c)(1) to swallow Section 230(c)(2) violates the fundamental canon

   of statutory construction against surplusage. This interpretive rule requires courts to give effect to



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   all portions of a statute, particularly provisions that follow one another. Corley v. United States,

   556 U.S. 303, 314 (2009) (“[A] statute should be construed so that effect is given to all its

   provisions so that no part will be inoperative or superfluous, void or insignificant…”) (quoting

   Hibbs v. Winn, 542 U.S. 88, 101 (2004)). The Supreme Court emphasizes that the canon “is

   strongest when an interpretation would render superfluous another part of the same statutory

   scheme.” Marx v. Gen. Revenue Corp., 568 U.S. 371, 386 (2013).

          To read Section 230(c)(1) to protect Defendant’s decision to censor Plaintiff would

   eliminate Congress’s express limitations. Thus, Florida federal courts have recognized Section

   230’s specific structure: Section 230(c)(1) protects against liability from causes of action which

   have as their elements platforms publishing or speaking third party content. Section 230(c)(2)

   protects content moderation for specified reasons. Neither provision applies to this case.

                  1.      Section 230(c)(1) Does Not Protect YouTube From Liability For Its
                          Unlawful Deprivation Of First Amendment Rights And Unfair Trade
                          Practices
          Where a platform works or “materially contributes’ to create unlawful content or pursue

   unlawful schemes, Section 230 does not apply. Florida Abolitionist v. Backpage.com LLC, No.

   6:17-CV-218-ORL-TBS, 2018 WL 1587477, at *5 (M.D. Fla. March 31, 2018). The Eleventh

   Circuit states, “where a complaint contained allegations illustrating defendant’s involvement in

   creating or developing the alleged” unlawful content, Section 230 immunity is inappropriate.

   Whitney Info. Network, Inc. v. Xcentric Venture, LLC, 199 Fed. Appx. 738, 744 (11th Cir. 2006).

   Here, it is alleged that YouTube worked with the government to violate Plaintiff’s First

   Amendment rights. YouTube’s actions are at issue—not the speech of third-party Subscribers of

   its platform. Such claims have no “immunity under the [Section 230].” Alvi Armani Med., Inc. v.

   Hennessey, 629 F. Supp. 2d 1302, 1306–07 (S.D. Fla. 2008).



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                  2.      Section 230(c)(2) Does Not Protect YouTube From Liability For Its
                          Unlawful Deprivation Of Plaintiff’s First Amendment Rights And
                          Unfair Trade Practices
          As Florida federal courts have ruled, consistent with most courts, Section 230(c)(2) is not

   a carte blanche to remove content for any reason. Rather, these terms refer to specific types of

   content regulable in 1996, and “otherwise objectionable” is a catchall term that, under the ejusdem

   generis canon of statutory construction, refers to types of content Congress thought regulable in

   1996. See Nat’l Numismatic Certification, LLC. v. eBay, Inc., No. 6:08-CV-42-ORL-19GJK, 2008

   WL 2704404, at *25 (M.D. Fla. July 8, 2008) (“One may find an array of items objectionable; for

   instance, a sports fan may find the auction of a rival team’s jersey objectionable. However,

   Congress provided guidance on the term ‘objectionable’ by providing a list of seven examples and

   a statement of the policy behind Section 230.”).

          Accordingly, the Court concludes that ‘objectionable’ content must, at a minimum, involve

   or be similar to pornography, graphic violence, obscenity, or harassment.” Song fi Inc. v. Google,

   Inc., 108 F. Supp. 3d 876, 883 (N.D. Cal. 2015) (“Given the list preceding ‘otherwise

   objectionable,’—‘obscene, lewd, lascivious, filthy, excessively violent, [and] harassing . . .’—it is

   hard to imagine that the phrase includes, as YouTube urges, the allegedly artificially inflated view

   count associated with ‘Luv ya.’ On the contrary, even if the Court can ‘see why artificially inflated

   view counts would be a problem for . . . YouTube and its Subscribers,’ the terms preceding

   ‘otherwise objectionable’ suggest Congress did not intend to immunize YouTube from liability for

   removing materials from its website simply because those materials pose a ‘problem’ for

   YouTube.”); Goddard, 2008 WL 5245490, at *6 (relying on National Numismatic to conclude that

   Google rules requiring various advertisers to “provide pricing and cancellation information

   regarding their services” “relate to business norms of fair play and transparency and are beyond

   the scope of § 230(c)(2)”); Google, Inc. v. MyTriggers.com, 2011-2 Trade Cases ¶ 77,662, 2011

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   WL 3850286, at *4 (Ohio Ct. Com. Pl.) (“The examples preceding the phrase ‘otherwise

   objectionable’ clearly demonstrate the policy behind the enactment of the statute and provide

   guidance as to what Congress intended to be ‘objectionable’ content.”). Section 230(c)(2) is not a

   bar to Plaintiff’s lawsuit, which alleges that Defendant removed content in violation of the First

   Amendment and other laws.

          B.      Section 230 Offers No Protection For Defendant’s Own Unlawful Speech

          YouTube is liable for its own speech as well as its own actions. When YouTube works as

   a partner with the government to stifle its Subscribers’ First Amendment rights, YouTube is legally

   accountable for its deeds. Similarly, when YouTube speaks and editorializes, Section 230 offers

   no protection because “[a]n interactive service provider remains liable for its own speech” and for

   “its own unlawful conduct.” Airbnb, Inc. v. City of Boston, 386 F. Supp. 3d 113, 119, (2019)

   (citations omitted). Because it is the Defendant’s own speech, YouTube’s statements, tags,

   warnings, and editorializing receive no protection under Section 230. YouTube’s false statements

   deprived Plaintiff of his First Amendment rights.

          In addition, these false statements are unfair trade and deceptive practices, as Subscribers

   joined YouTube with the expectation that they would be treated fairly and without slander. In

   reasonable reliance upon YouTube’s representations and the expectation of fair business dealings,

   Subscribers built businesses, political careers, entertainment personae, and public reputations on

   YouTube. YouTube then changed the rules, arbitrarily censoring and de-platforming people in

   violation of its own representations. As courts have ruled, section 230 provides no protection for

   unfair and deceptive trade practices.




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          C.      Section 230 Is Unconstitutional As Applied

          Where “plaintiffs seek to vindicate their own rights, the challenge is as-applied.”

   Rubenstein v. Fla. Bar, 72 F. Supp. 3d 1298, 1309 (S.D. Fla. 2014) (quoting Jacobs v. The Fla.

   Bar, 50 F.3d 901, 906 (11th Cir. 1995)). “In an as-applied challenge, the plaintiff contends that

   application of the statute in the particular context in which he has acted, or in which he proposes

   to act, would be unconstitutional. Therefore, the constitutional inquiry in an as-applied challenge

   is limited to the plaintiff's particular situation.” Id. (referencing and quoting to Ross v. Duggan,

   402 F.3d 575, 583 (6th Cir. 2004)). “When evaluating an as-applied challenge, the court’s inquiry

   and potential relief focuses only on the particular challenged application. . . .” Id. at 1309.

          Section 230, as applied, encourages Defendant to censor disfavored speech on the basis of

   viewpoint and is unconstitutional. The Supreme Court has held that federal statutes immunizing

   private conduct from liability transform typical private action into state action. Skinner, 489 U.S.

   at 611. Following this precedent, when Section 230 is used to engage in government viewpoint

   discrimination to stifle First Amendment rights, it is unconstitutional as applied. Section 230

   permits, but does not require, companies like YouTube to censor speech deemed “objectionable”

   and preempts all conflicting state laws, preventing such censorship from being “made illegal . . .

   by any provisions of the laws of a State.” Ry. Emp. Dep't v. Hanson, 351 U.S. 225, 232, 76 S. Ct.

   714, 718, 100 L. Ed. 1112 (1956). Like Section 2 of the Railway Labor Act, Section 230 gives

   firms the choice to impose the law. But its choice, when rendered with government joint action to

   stifle First Amendment rights, makes Section 230 as applied, unconstitutional viewpoint

   discrimination.

          In Skinner, the Court held that the regulations therein turned the private companies’

   conduct into state action, because the regulations “removed all legal barriers” to such testing by



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   preempting any conflicting state laws (immunizing the railways from liability); and (2) the

   government had “made plain” a “strong preference” for such testing. Id. at 615. Just as with the

   Federal Railway Safety Act, Section 230(c)(2) “remove[s] all legal barriers” to YouTube’s refusal

   to carry content it deems “objectionable.” Skinner, 489 U.S. at 603. Numerous government actors,

   as with the testing protected in Subpart D of the Act regulations in Skinner, “made plain” a “strong

   preference” for censoring certain types of content, including those of Plaintiff.

          Section 230, as applied, violates the fundamental principle the Supreme Court has long

   recognized: government “may not induce, encourage or promote private persons to accomplish

   what it is constitutionally forbidden to accomplish.” Norwood, 413 U.S. at 465. (quoting Lee v.

   Macon County Board of Education, 267 F.Supp. 458, 475-76 (M.D. Ala. 1967).

                                   POINT III
                       PLAINTIFF IS LIKELY TO SUCCEED
      ON HIS FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT CLAIM

          The injunctive relief sought by Plaintiff speaks to the purpose of the Florida Deceptive and

   Unfair Trade Practices Act (“FDUTPA”): protecting the public from deceptive practices.

   Defendant has engaged in the systematic practice of limiting the distribution of Plaintiff’s content.

   Other Subscribers—whose content fits the preferred perspective of government actors who have

   the power to modify Section 230—remain on the platform despite promoting content clearly in

   violation of the standards applied to Plaintiff. These inconsistent actions are manifestly deceptive

   practices.

          A.      Florida Deceptive And Unfair Trade Practices Act Standards

          FDUTPA prohibits deceptive acts or practices. Fla. Stat. § 501.204(1). Deception is “a

   representation, omission, or practice that is likely to mislead the consumer acting reasonably in the

   circumstances, to the consumer’s detriment.” PNR Inc. v. Beacon Prop. Mgmt., Inc., 842 So.2d


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   773, 777 (Fla. 2003) (referencing and quoting to Millennium Communications & Fulfillment, Inc.

   v. Office of the Attorney Gen., 761 So.2d 1256, 1263 (Fla. 3d DCA 2000)). FDUTPA must be

   “construed liberally” to “protect the consuming public and legitimate business enterprises . . .”

   from unfair or deceptive business practices. Howard Morris v. ADT Sec. Servs., 2009 U.S. Dist.

   LEXIS 150309 at *24424 (S.D. Fla. Sept. 11, 2009).

          A party aggrieved by a violation of FDUTPA may seek injunctive relief. Importantly,

   Florida courts have held that an aggrieved party need only be one who is “angry or sad on grounds

   of perceived unfair treatment.” Ahearn v. Mayo Clinic, 180 So. 3d 165, 172 (Fla. 1st DCA 2015).);

   Fla. Stat §501.211(1). The authority for injunctions under FDUTPA “is broadly worded to

   authorize declaratory and injunctive relief even if those remedies might not benefit the individual

   consumers who filed the suit.” Gastaldi v. Sunvest Cmtys. USA, LLC, 637 F. Supp. 2d 1045,1057

   (S.D. Fla. 2009) (internal citation omitted). FDUTPA "is designed to protect not only the rights of

   litigants but also the rights of the consuming public at large." Id.

          B.      Defendant Has Inconsistently Applied Its Standards

          Defendant has offered various rationales for removing content uploaded by Plaintiff, but

   comments related to election integrity, COVID-19, and violence have been the predominant bases

   cited by Defendant for the removal of Plaintiff’s content.

                  1. Election Integrity
          Plaintiff had content removed or flagged for videos allegedly in violation of YouTube’s

   standards regarding election-related content. (Ibrahim Decl. Exh. A ¶ 51.) Defendant’s policy

   states that it will remove content “that advances false claims that widespread fraud, errors, or

   glitches changed the outcome of any past U.S. presidential election.” (Ibrahim Decl. Exh. A ¶ 51.)

   Defendant’s actions show that these standards are inconsistently applied to ensure that only

   disfavored content is removed from its platform. All of the speakers incorporated herein by

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   Declaration have not faced disciplinary sanctions from Defendant. (Ibrahim Decl. Exh. A ¶¶ 52,

   53, 54, 55, 56, 57, 58, 59, 60, 61, 62, 63, 64.)

           If Defendant was committed to a consistent application of their standards regarding

   election integrity issues, Defendant would have taken similar disciplinary action against the

   YouTube channels belonging to the third parties listed above.

                   2. COVID-19
           Plaintiff had content removed or flagged for alleged violations of Defendant’s standards

   related to COVID-19.1 YouTube’s policies state that it prohibits content in contradiction of the

   standards promulgated by the World Health Organization (“WHO”), content that discourages

   people from seeking medical advice, content that guarantees a prevention method for COVID-19,

   or content that disputes guidance regarding physical distancing to reduce transmission of COVID-

   19. Defendant’s practices reflect the inconsistent application of each of these specific provisions.

   (Ibrahim Decl. Exh. A ¶¶ 65, 66, 67, 68, 69, 70.)

           Numerous news organizations have made inconsistent reports about the effects of large

   protests on the spread of COVID-19. Specifically, in relation to the large gatherings during the

   protests of the summer of 2020, several news organizations’ articles incorporated herein by

   Declaration have all run articles suggesting these events would not cause an increase in virus

   infections. Contrariwise, these exact same national media organizations each ran articles

   suggesting the events of January 6, 2021, would cause an increase in virus infections. (Ibrahim

   Decl. Exh. A ¶¶ 71, 72, 73, 74, 75, 76, 77, 78, 79, 80, 81.) (See Also: Ibrahim Decl. Exh. A ¶ 82.)

           The suggestions contained within these articles—that large gatherings are unlikely to cause

   an increase in virus infections—run contrary to general guidance related to COVID-19. This


   1
    YouTube’s policies related to COVID-19-19 can be found here:
   https://support.google.com/youtube/answer/9891785?hl=en

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   inconsistency reflects Defendant’s efforts to placate government actors who generally approved

   of the protests of the summer of 2020, generally disapproved of the events of January 6, 2021, and

   have expressed a great desire and willingness to affect Defendant’s fortunes through manipulation

   of the protections afforded by Section 230.

          The true thread behind all of Defendant’s censorship decisions is whether the content being

   discussed was favored by Democrats about to take control of Congress and the White House.

   Defendant makes no effort to apply an objective standard for COVID-19, and thus it is deceptively

   misleading its Subscribers as to the reliability of the content they might find on YouTube.

                   3. Violence
          Defendant claims to prohibit content when it incites, “others to commit violent acts against

   individuals or a defined group of people,” when it encourages “others to go to a particular place to

   commit violence,” or targets “specific individuals or groups with violence.” However, as detailed

   in the incorporated Declaration, YouTube has taken no disciplinary action against speakers that

   maintain YouTube channels and whose statements clearly run afoul of Defendant’s standards

   (Ibrahim Decl. Exh. A ¶¶ 10, 11, 12, 13, 84, 85, 86, 87.) Defendant also engages in selective

   enforcement of age-gating restrictions for politically disfavored viewpoints. (Ibrahim Decl. Exh.

   A ¶¶ 89, 90.)

          In 2020, the city of Portland, Oregon, witnessed over one hundred (100) nights of riots,

   burning of the federal courthouse, arrests, vandalism, and even the death of a supporter of Plaintiff.

   (Ibrahim Decl. Exh. A ¶ 88.) Despite the fact that Defendant’s policies state that it prohibits the

   use of its platform to encourage parties to go to a particular place to commit violence, Defendant

   permitted its platform to be used to livestream the violence at the courthouse.

          If Defendant’s standards as applied to Plaintiff were objectively applied to all content

   providers, none of the speakers referenced in the Declaration would be allowed to upload content

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   to YouTube. This disparate treatment is reflective of Defendant’s desire to remove politically

   disfavored content. The determination of what is or is not “politically disfavored” is dictated by

   the calls from government actors for Defendant to take action or face punitive regulatory or

   legislative action supra .1, Part 2, pg. 13-14.

          C.      Defendant’s Inconsistent Application Of Its Standards Demonstrates
                  Plaintiff’s Entitlement To Preliminary Injunctive Relief

          By publishing its standards on its website, Defendant is promising its Subscribers that it

   will live up to them. Defendant has failed to do so, thus deceiving its Subscribers into thinking that

   Defendant applies these standards with total viewpoint neutrality.

          The failure of Defendant to state that it modifies its content moderation standards to placate

   government actors is a material misrepresentation. Subscribers might think that parties who have

   been suspended, age-restricted, demonetized, or otherwise have run afoul of Defendant’s standards

   are somehow less trustworthy than the content they do find across the platform. Conversely,

   Subscribers may think that the content they see on the platform is consistent with an objective

   application of Defendant’s standards.

          Plaintiff is ideally suited to bring this action for injunction relief. Plaintiff invested time

   and money in developing a presence on YouTube— which was mutually beneficial to Defendant.

   On the other hand, Defendant cannot possibly reconcile the punitive censorship of Plaintiff with

   the favored treatment of other speakers who violated the same norms. Defendant has

   systematically removed politically disfavored content on pretextual grounds. Plaintiff has been

   aggrieved by these actions, and Plaintiff respectfully submits that he has established a substantial

   likelihood of success on the merits of his FDUTPA claim.




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                      PLAINTIFF IS LIKELY TO SUCCEED ON THE MERITS
                     OF HIS STOP SOCIAL MEDIA CENSORSHIP ACT CLAIM

            In Count IV of the Amended Complaint, Plaintiff seeks relief under the provisions of the

   Stop Social Media Censorship Act. While housed within FDUTPA, the elements for a Stop Social

   Media Censorship Act claim have a subtle but significant variation from the elements of the

   injunction claim in Count III. Specifically, Count III alleges that the discriminatory practices of

   Defendant were based on a policy of removing politically disfavored content and that this policy

   was deceptively omitted from its statements to Subscribers. Plaintiff’s allegations in Count IV,

   however, rest on the very straightforward premise that—regardless of any deceptive practice—

   Defendant inconsistently applied its own standards.

            Under the provisions of the Florida Statutes § 501.2041(2)(b), the inconsistent application

   of censorship, de-platforming, and shadow banning standards—regardless of any deception—is a

   violation of FDUTPA. Subsection (2)(b) of the Stop Social Media Censorship Act states that:

                     A social media platform must apply censorship, deplatforming, and
                     shadow banning standards in a consistent manner among its users
                     on the platform.2

   Plaintiff asserts that the allegations raised in the Amended Complaint and detailed above

   demonstrate that Defendant has failed to enforce its standards for censoring, de-platforming, and

   shadow banning content in a consistent manner.

            As noted above, the provisions of Subsection (2)(b) hold that a social media company’s

   inconsistent application of standards is a violation of Florida Statutes § 501.204. As the Stop Social

   Media Censorship Act is housed within FDUTPA, the corpus of FDUTPA law detailed above in

   Point II, Subsection I A, is equally applicable to the Stop Social Media Censorship Act. The same



   2
     Censorship, deplatforming, and shadow banning are defined at Florida Statutes § 501.2041(1)(b), (c), and (f),
   respectively

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   principles hold that FDUTPA must be “construed liberally” to “protect the consuming public and

   legitimate business enterprises” from unfair or deceptive business practices. Howard Morris 2009

   U.S. Dist. LEXIS 150309 at *24424 (S.D. Fla. Sep 11, 2009).

          The law was challenged in an action brought in the Northern District of Florida by

   technology industry trade associations. In a decision dated June 30, 2021, Judge Hinkle of the

   Northern District enjoined several state agencies from enforcing provisions of the Stop Social

   Media Censorship Act —it does not address private litigation. Netchoice, LLC, v. Moody 2021

   U.S. Dist. Lexis 121951 (N.D. Fla. June 30, 2021). Moreover, in a decision 31 pages long, only

   about five paragraphs were directed to the provision under which Count IV is brought. Id.

          While Judge Hinkle held that Section 230 preempted the Stop Social Media Censorship

   Act, he relied on a Second Circuit opinion that, since the entry of his order, was vacated and

   replaced. Relying on Domen v. Vimeo, 991 F.3d 66 (2d. Cir. March 11, 2021) (amended and

   superseded on rehearing by Domen v. Vimeo, Inc., 2021 WL 3072778 (2d Cir. July 21, 2021)),

   which was entered March 11, 2021, Judge Hinkle stated that Section 230 preempts claims based

   on the inconsistency of content removal. Netchoice at 20. However, the March 2021 Vimeo

   opinion was vacated and replaced with a decision issued on July 21, 2021. The revised opinion

   states that the “imperfect exercise of content-policing discretion does not, without more, suggest

   that enforcement of content policies was not done in good faith;” the necessary implication is that

   Section 230 immunities disappear when a plaintiff can establish bad faith. Domen, 2021 WL

   3072778 at *17. Further, the Second Circuit stated, “Our decision should not be read to confer

   immunity on providers acting in circumstances far afield from the facts of this case. Courts have

   rejected Section 230 defenses against claims for false advertising, deceptive trade practices, and

   tortious interference.” Id. at 18.



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          Judge Hinkle’s decision should at most be read to state that Section 230 might be a defense

   that could be raised by a defendant, not that it preempts the law. Section 230 remains a fact-based

   defense, and the Defendants, in this case, are not entitled to its protections.

                                         POINT IV
                           PLAINTIFF WILL SUFFER IRREPARABLE
                          HARM IF AN INJUNCTION IS NOT GRANTED

          By its own admission, YouTube is an essential platform for communicating in today’s

   global environment. With the volume of content on the platform combined with the power of their

   search functions, YouTube is a premier destination for Subscribers seeking information. As

   important as YouTube is for commercial branding, it is no less important for those engaged in

   political speech. For candidates, it offers outstanding outreach to potential voters. YouTube states

   that “YouTube Ads uses Google data to match your message to the right people at the right

   moment.”

          The continuing irreparable harm to Plaintiff, absent an injunction, is indisputable as a

   matter of law. Elrod v. Burns, 427 U.S. 347, 373 (1976) (“The loss of First Amendment freedoms,

   for even minimal periods of time, unquestionably constitutes irreparable injury.”) Here, the

   wisdom expressed in New York Times Co., supra, comes to bear as “[e]very moment’s continuance

   of the injunctions against [those censored] amounts to a flagrant, indefensible, and continuing

   violation of the First Amendment” 403 U.S. at 715 (Black, J., concurring with aff’ 446 F.2d 1327

   and rev’ 444 F.2d 544).

          Defendant has placed “its finger on the scale” by eliminating Plaintiff’s views and content

   from voters, and “led to the demise of the Trump Campaign merchandising and fundraising

   program.” (Corey Decl. Exh. B ¶ 27 and Mahfouz Decl. Exh. C ¶ 25) The First Amendment rights

   of Plaintiff’s millions of YouTube Subscribers—to receive his messages and to comment to one



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   another thereon—will be irreparably injured as well. At the same time, by de-platforming the

   presumptive head and most popular member of the Republican Party, cutting him off from one of

   the most effective, direct forms of communication with potential voters, Defendant is threatening

   irreparable damage to the Republican Party’s prospects in the 2022 and 2024 elections.

          Similarly, a preliminary injunction on Plaintiff’s FDUTPA and Stop Social Media

   Censorship Act claims will benefit many more parties than just Plaintiff. Billions of Subscribers

   rely on Defendant’s statements regarding the criteria by which content is permitted to remain on

   YouTube or removed.

                                      POINT V
                     THE BALANCE OF HARDSHIPS FAVORS PLAINTIFF

          While YouTube faces no harm from the reinstatement of Plaintiff’s access to its platform,

   Plaintiff faces irreparable injury; thus, the balance of hardships manifestly favors a preliminary

   injunction. Plaintiff faces loss of his donor and merchandising platforms and ability to

   communicate his views, content, and endorsements of local candidates. (Mahfouz Decl. Exh. C ¶

   16 and Corey Decl. Exh. B ¶¶ 14, 15) Defendant’s First Amendment freedoms will not suffer if

   this Court orders it to reinstate Plaintiff’s access to its platform(s). Defendant was and is operating

   as a governmental actor in censoring Plaintiff, and governmental actors do not have First

   Amendment rights. While Defendant undoubtedly has the First Amendment right to express its

   own opinion and carry messages its favors, the First Amendment does not protect Defendant when

   it functions as a censorship arm of federal lawmakers and officials.

                                        POINT VI
                                AN INJUNCTION WOULD NOT
                            BE ADVERSE TO THE PUBLIC INTEREST

          Defendant cannot seriously argue that access to its platform is not an issue of public

   interest. The terms of access to YouTube require clear and transparent disclosure to Defendant’s

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   Subscribers, who need to know if the terms of service they have agreed to are, in fact, the terms

   applied by Defendant to leave up, or pull down, content. YouTube’s elimination of Plaintiff’s

   views and content creates a “significant and negative impact on political debate” and “constituents

   a prior restraint in the vitality of the ‘marketplace of ideas’ in American politics” (Corey Decl.

   Exh. B ¶ 27.)

           The country does not benefit from attempts to suppress political speech. Still less does it

   benefit from attempts to muzzle political speakers. Even those most passionately antagonistic to

   Plaintiff’s views are not well-served by attempts to silence him. Such, at least, has always been

   the fundamental principle of the First Amendment. “That Amendment rests on the assumption that

   the widest possible dissemination of information from diverse and antagonistic sources is essential

   to the welfare of the public. . . .” Associated Press v. United States, 326 U.S. 1, 20 (1945). Although

   this principle is under assault today throughout the United States, it can still be saved by—and

   perhaps only by—the Nation’s courts. Accordingly, granting this preliminary injunction will

   manifestly be in the public interest.

                                             CONCLUSION
           For the foregoing reasons, Plaintiff respectfully requests that the Court grant the injunctive

   relief prayed for above.

                                            Request for Relief
           Plaintiff respectfully requests the Court to issue a preliminary injunction at the earliest

   possible date and enter the following Order:

   A.      Enjoining and restraining Defendant and its officers, agents, servants, employees,

   attorneys, and other persons who are in active concert or participation with anyone falling under

   the direct or general control or supervision of Defendant from enforcing the suspension of

   Plaintiff’s access to its platform.

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   B.      Directing Defendant immediately, and no later than forty-eight (48) hours following the

   issuance of the Court’s Order, to reinstate Plaintiff’s access to his YouTube channel and lift all

   temporary or permanent bans on Plaintiff’s YouTube channel.

   C.      Directing Defendant immediately, and no later than forty-eight (48) hours following the

   issuance of the Court’s Order, to lift the ban recently imposed on certain uploaded videos identified

   in greater detail in the Memorandum of Law submitted herewith.

   D.      Enjoining and declaring that Section 230 (c) of the Communications Decency Act of 1996

   is unconstitutional as applied to the facts of this case, as it violates Plaintiff’s right to free speech

   under the First Amendment.

   E.      Directing Defendant to permit Plaintiff’s sale of merchandise on his channel in the normal

   course as it was conducted for years before the unlawful censorship occurred.

   F.      Granting such other and further relief as the Court may deem just, proper, and equitable.




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   Date: August 23, 2021

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                                   CERTIFICATE OF SERVICE
   Motion for Preliminary Injunction and Memorandum of Law Incorporated Herein and the

   Amended Complaint will be served on Defendants YouTube, LLC, and Sundar Pichai, as soon as

   possible. Proof of service will be filed with this Honorable Court when service is completed.




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